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                                        Synopsis
Name:                                   RALPH SCURLOCK a/k/a “Ralph Melendez”

Address:                                Bronx, NY
(City & State Only)
Year of Birth and Age:                  1987 (34)

Violations:                             Count 1: Possession of a Firearm by a Felon,
                                        18 U.S.C. §§ 922(g)(1), 924(a)(2), and Aiding and
                                        Abetting, 18 U.S.C. § 2.
Penalties:                              Count 1: Imprisonment of not more than 10 years, fine
                                        not to exceed $250,000, or both. 18 U.S.C. § 924(a)(2).

                                        This is a Class D felony pursuant to 18 U.S.C. §
                                        3559(a)(4).
Supervised Release:                     Not more than 3 years. 18 U.S.C. § 3583(b)(2)

Maximum Term of Imprisonment for        Not more than 2 years. 18 U.S.C. § 3583(e)(3).
Violation of Supervised Release:

Maximum Add’l Term of Supervised        Three years, less any term of imprisonment that was
Release for Violation of Supervised     imposed upon revocation of supervised release. 18
Release:                                U.S.C. § 3583(h).
Defendant’s Attorney:                   TBD

Primary Investigative Agency and Case   ATF
Agent Name:
Detention Status:                       Arrested on federal warrant July 22, 2021 (S.D.N.Y.)
Foreign National:                       N/A

Foreign Consular Notification Provided: N/A

County:                                 Bronx, NY

AUSA:                                   Lizotte

Guidelines apply?                       Yes

Victim Case:                            No

Corporate Victims Owed Restitution?     No

Assessments:                            $100.00 per count - 18 U.S.C. § 3013(a)(1)(A)(ii)


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